Case: 24-20091           Document: 52-1        Page: 1      Date Filed: 08/26/2024




          United States Court of Appeals
               for the Fifth Circuit
                                  ____________
                                                                           United States Court of Appeals
                                                                                    Fifth Circuit
                                   No. 24-20091
                                 Summary Calendar                                 FILED
                                 ____________                               August 26, 2024
                                                                             Lyle W. Cayce
United States of America,                                                         Clerk

                                                                  Plaintiff—Appellee,

                                         versus

Jase DePaul Gautreaux,

                                           Defendant—Appellant.
                  ______________________________

                  Appeal from the United States District Court
                      for the Southern District of Texas
                            USDC No. 4:21-CR-47-1
                  ______________________________

Before King, Southwick, and Engelhardt, Circuit Judges.
Per Curiam: *
      Jase DePaul Gautreaux, federal prisoner # 17649-579, appeals the
district court’s order which (i) denied his 18 U.S.C. § 3582(c)(1)(A)(i)
motion for compassionate release, “Motion for Second Chance Act/RRC
Placement,” and “Motion to Introduce Support Documentation for
Reconsideration of CR/RIS ECF 143, 139, 144”; (ii) imposed a $100

      _____________________
      *
          This opinion is not designated for publication. See 5th Cir. R. 47.5.
Case: 24-20091         Document: 52-1       Page: 2     Date Filed: 08/26/2024




                                   No. 24-20091


sanction; and (iii) precluded him from filing further pleadings. On appeal, he
primarily argues that the district court abused its discretion in denying his
compassionate release motion, because his medical diagnoses of HIV/AIDS
and asthma, his vulnerability to contracting severe COVID-19, and his
rehabilitation constitute extraordinary and compelling reasons for
compassionate release. The Government has filed a letter invoking the
14-day deadline under Federal Rule of Appellate Procedure 4(b)(1) for filing
a notice of appeal.
       The record supports the Government’s invocation of Rule 4(b)(1)’s
time limitation. Gautreaux filed his notice of appeal after the expiration of
the time for filing a timely appeal and beyond the time during which the
district court could have granted him an extension upon a showing of either
excusable neglect or good cause. See Fed. R. App. P. 4(b)(1)(A)(i), (b)(4);
United States v. Alvarez, 210 F.3d 309, 310 (5th Cir. 2000). While the
untimely filing of a notice of appeal in a criminal case is not jurisdictional, see
United States v. Martinez, 496 F.3d 387, 388–89 (5th Cir. 2007), this court
will enforce the mandatory time limit by dismissing the appeal where, as here,
the Government timely raises the issue, see United States v. Hernandez-
Gomez, 795 F.3d 510, 511 (5th Cir. 2015).
       Accordingly, Gautreaux’s appeal is DISMISSED as untimely.




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